                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI

THE BACKER LAW FIRM, LLC, on behalf                )
of itself and all those similarly situated,        )
                                                   )
                          Plaintiff,               )
                                                   )
v.                                                 )         Case No: 4:15-CV-00327-SRB
                                                   )
COSTCO WHOLESALE CORPORATION,                      )
                                                   )
                          Defendant.               )

                             MOTION FOR FINAL APPROVAL
                             OF CLASS ACTION SETTLEMENT

       COMES NOW Plaintiff, by and through Class Counsel, and moves the Court for an order:

(i) granting final approval of the parties’ settlement; and (ii) approving the plan of allocation as

described in the Settlement Agreement.

       WHEREFORE, for the reasons described in the Suggestions in Support of Motion for Final

Approval of Class Action Settlement, Plaintiff prays this Court enter the order requested above, and

any other relief the Court deems just and proper under the circumstances.

                                                  Respectfully submitted,

                                                  WOOD LAW FIRM, LLC

                                                  By /s/ Ari N. Rodopoulos
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                                                  Attorneys for Plaintiff and Plaintiff Class




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                                 CERTIFICATE OF SERVICE

        I hereby certify on this 12th day of November, 2018, a true and correct copy of the foregoing
was electronically filed with the Clerk of this Court using the CM/ECF system which will send
notification to all attorneys of record.

                                                By      /s/ Ari N. Rodopoulos
                                                     Attorney for Plaintiff and Plaintiff Class




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